
ORDER
Considering the Joint Motion for Interim Suspension filed by respondent, Edwin W. Edwards, and the Office of Disciplinary Counsel,
IT IS ORDERED that Edwin W. Edwards be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Pascal F. Calogero, Jr. Justice, Supreme Court of Louisiana
LEMMON, J., not on panel. Rule IV, Part II, § 3.
